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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

JOHNATHAN SMITH and                        *

MONIQUE SMITH,                             *

                                           *

                                           *
              Plaintiffs,
                                           *

                                           *          1:18-CV-02072-ELR
       V.
                                           *

ACUMED LLC,                                *

                                           *

              Defendant.                   *

                                           *




                                     ORDER


      Presently before the Court is Defendant's "Motion for Attorney Fees."


[Doc. 87]. For the reasons below, the Court denies Defendant's motion.


I. Background


      Plaintiffs Johnathan Smith and Monique Smith filed this product liability

action on May 10, 2018, against Defendant Acumed LLC, alleging claims for strict

liability, negligence, and loss of consortium. Compl. [Doc. 1]. As detailed in the

Court's August 12, 2019 and November 25, 2019 Orders, from nearly the inception

of this case, the Parties have consistently failed to comply with the Federal Rules of

Civil Procedure, the Local Rules of this Court, and the undersigned's Instructions

for Civil Cases. [See Docs. 72, 74]. After several reprimands and warnings,
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Defendant properly moved for summary judgment on December 26, 2019.

[Doc. 76]. The Court granted Defendant's motion, specifically noting that Plaintiffs

failed to "point to any evidence, competent or otherwise" to support their claims.


[Doc. 84 at 6].

      Following the Clerk's entry of judgment in its favor, Defendant filed the

instant "Motion for Attorney Fees." [Doc. 87]. Plaintiffs did not file a response.

The Court turns now to a review of Defendant's motion.


II. Discussion


      Defendant brings its "JVIotion for Attorney Fees" pursuant to 28 U.S.C.

§ 1927. Section 1927 provides that any attorney "who so multiplies the proceedings

in any case unreasonably and vexatiously may be required by the court to satisfy

personally the excess costs, expenses and attorney's fees reasonably incurred


because of such conduct." The Eleventh Circuit has interpreted the statute to impose


three essential requirements for an award of sanctions: (1) "the attorney must engage


in 'unreasonable and vexatious' conduct;" (2) "that 'unreasonable and vexatious'


conduct must be conduct that 'multiplies the proceedings;'" and (3) "the dollar

amount of the sanction must bear a financial nexus to the excess proceedings, i.e.,


the sanction may not exceed the 'costs, expenses, and attorney's fees reasonably


incurred because of such conduct.'" Amlong & Amlons, P.A. v. Penny's Inc., 500


F.3d 1230, 1239 (llth Cir. 2007) (quoting Peterson v. BMI Refractories, 124 F.3d
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1386, 1396 (llth Cir. 1997)). The Eleventh Circuit has "consistently held that an

attorney multiplies proceedings 'unreasonably and vexatiously' within the meaning

of the statute only when the attorney's conduct is so egregious that it is 'tantamount

to bad faith.'" Id,; see also Schwartz v. Millon Air, Inc., 341 F.3d 1220, 1225


(11th Cir. 2003) ('"Bad faith' is the touchstone.").


      The Court's detemiination of bad faith hinges upon an attorney's objective

conduct, not the subjective intent of the attorney. Amlong, 500 F.3d at 1239.

However, an attorney's state of mind is taken into consideration when "a given act


is more likely to fall outside the bounds of acceptable conduct and therefore be

'unreasonable] and vexatious' if it is done with a malicious purpose or intent." Id.


at 1241. Negligent conduct alone "will not support a finding of bad faith under

§ 1927" and, therefore, an attorney's conduct "will not warrant sanctions if it simply


fails to meet the standard of conduct expected from a reasonable attorney." Id.;


see also Schwartz, 341 F.3d at 1225.

      Defendant contends attorneys' fees are warranted because Plaintiffs' counsel


unreasonably pursued this product liability case despite the fact that Plaintiffs

allegedly did not have the defective product within their possession. [See Doc. 87].

Defendant bolsters this argument by pointing to the Court's finding on summary

judgment that Plaintiffs failed to "point to any evidence, competent or otherwise" to

support their claims. [Id. at 2] (citing Doc. 84 at 6). However, presentment of the
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defective product is unnecessary in a product liability action; a party may rely on

circumstantial evidence to prove a defect where the product in question is destroyed

or unavailable for testing. Graffv. Baja Marine Corp., No. 2:06-CV-68-WC, 2007

WL 6900363, at *8 (N.D. Ga. Dec. 21, 2007), affd, 310 F. App'x 298 (llth Cir.

2009). Thus, there was sound legal support for Plaintiffs' attorney to pursue and

litigate this case. The fact that Plaintiffs' attorney did not argue or pursue the case

according to this strategy does not amount to bad faith. See Amlong, 500 F.3d at

1241 (finding that an attorney's conduct "will not warrant sanctions if it simply fails

to meet the standard of conduct expected from a reasonable attorney").


      Moreover, the Court finds that Plaintiffs' counsel's supposed "unreasonable


conduct" did not "multiply the proceedings." See id. at 1239. Indeed, this case


would likely have been resolved on Defendant's first motion for summary judgment

had Defendant followed the Court' s Local Rules regarding the filing. [See Doc. 74].

      In short, the Court concludes that the conduct of Plaintiffs' counsel does not

warrant the sanction of attorney's fees. Thus, the Court denies Defendant's motion.


m. Conclusion


      Accordingly, the Court DENIES Defendant's "Motion for Attorney Fees."

[Doc. 87].
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SO ORDERED, this JU day of August, 2020.




                                      ^wz             ^J
                                 Eleanor L. Ross
                                 United States District Judge
                                 Northern District of Georgia
